USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 1 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 2 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 3 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 4 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 5 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 6 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 7 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 8 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 9 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 10 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 11 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 12 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 13 of 14
USDC IN/ND case 1:04-cv-00026-TLS-RBC document 1-2 filed 01/27/04 page 14 of 14
